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Doc 1236-7 Entered 08/13/10 15

Case 09-14814-qwz

NORTH

oR
UPS
GRAPHIC SCALE ;
a maa ©
(my Feet}
1ineh = 49 fh
HLT.S. :
BASIS OF BEARINGS LEGEND
NORTH OO43'38" EAST — THE WEST LINE OF THE HORTHWEST QUARTER
(uw fa) OF SECTION Oc, TOWNSHIP TH, RANGE 18 WEST, GLA & 120 LOT HUMBER
SALT RIVER MERIDIAN, MOHAVE Col ARIZONA, AS DETERMINED BY THE —— — — — pet oF war
ARIZONA COORDINATE SYSTEM GF 1985 (AZBS—WIF}, WEST ZOPE,
INTERNATIONAL FOOT (IF T}, UTILIING FAST STATIC OBSERVATIONS ‘eee eee SUBDIMSION/UNIT BOUDRY
PROCESSED BY NGS- OPUS.
oo STREET LIGHT (100W HPS} i
MCSD. “SD am" = LATITUDE 3ene'27 70034" .
No. 3-1/2" PULL BOK
LONGITUDE 114°09"21.57240" . é i
HEIGHT 2562452011 (HAVO o SERVICE PEDESTAL
STONE 1/4 COR 3/2 - LATITUDE 36708's5.595) PU PUBLIC UTILITY EASEMERIT
LOneITUDE 11490°30. 7
HEIGHT 24@8.20458Ir ( GE. COMMON ELEMENT . m
= =
BENCHMARK ow) eye = wo
BENCHMARK g "SD 34” M.C.5.0. WATER . | gq) "|e
ELEVATION= 2500.24273 IFT (HAVE '88) cil = | a
WATER MAIN elels/|Pl4
DESCRIPTION: ALUM GAP 2° DIK, SET IN CDWG. 8& FT. MORTHEAST OF aa" WATER METER =/=/2) 5] 4
£ THE SOUTH 1/4 CORNER OF SEC. 35, 7. 21H, Rd Wi. AND THE Wee Opn WATER LATERAL yf gy) es] x
& INTERSECTION OF SHINARUMP OF. AMO HOPE RO. STAMPED “SD 54 1039 e 2/212) 8]
PLS 10343."
KT FIRE HuDRANT ASSEMBL? B/4/S/ 351s
& TEE WAWALVE
q —— 7 GLOWOFF ASSEWBLY 2
SEWER CONSTRUCTION NOTES &
a ae o GATE VALVE DR BUTTERFLY ¥ALVE B32
Hl (7) INSTALL 427 DIAMETER MANHOLE PER a 3
AG. STANDARD GETAL Nd. 420 at 11 1fe, 22 1/2, 455 90" BEND ao
a [2] STALL s* pvc SEWER man ak,
= [H] WWSTAU, 4" PUG SEWER LATERAL PER # BS
x z AG. STANDARD DETAL HOS. 440-1 AND 440-4 SEWER fee
< [2] INSTALL 8° Pec SEWER STUB & GAP @ SANITARY. SEWER MANHOLE baa3
[BE] REMOVE CAP AND CONNECT Ta EXSTING SAHITARY SEWER SANITARY SEVIER Wall oie
4" PVG SEWER LATERAL ae
WATER CONSTRUCTION NOTES EXSTNG SANITARY SEWER MANHOLE aa z
R @) INSTALL 8° PVE PIPE CLASS 150 MEETING REQ, PROM BE AISA 360 SEE PHASE A IMPROVEMENT PLANS BY S.C. —
r @ IWSTALL FIRE HoDRANT ASSEMBLY PER EXSTNG SANITARY SEWER Malt.
F €3) STALL ar GATE VALVE), VALMES SEE PHASE. A IMPROVEMENT PLANS @Y S.C.
p @ EXSTNG 4° PVG SEWER LATERAL

SEP PHASE A IMPROVEMENT PLARIS BY S.C.

Ke

wm, stanley Consultants inc

g E STU AND ca
& amy SEWER BACK WATER VALVE
3
WY T= 2310 8 STORM DRAIN
262 i INSTALL 1" WATER LATERAL W 3/4" WATER METER. SEE DT4
2) 8* CAP W/ BLOWLOFF PER HLA.G STANDARD DETAIL NO, 380 ———=_— STORM ORAIN PIPE.
ei sia Ce ee eee ue = sro Daan
NOTE: ALL NOTES NOT USED Of ALL SHEETS.
COMMON LOT pe | 5 @ STORM DRAIN MANHOLE
=
- aa Wilt rT
“titieg JERE eer Ape fa ee
oe van
oe EE ee et Aen
Ss 4 baat |}
z ot
oy TEND _LATERALS oO
| DSPRae 5
wile t "
snus Fe ee zo
is
et oe v vasa a ru 6 1”
Tey me TYPICAL WATER AND 5S LATERALE zi
flees ti i ne, os <
orttetiannes TYPICAL WATER AND 6S MAN LNE SECTION. Baim
“Seta tmam TTS. 1
nm WE waa cron omecrme ween wr Z te
Sty HDL a ea OT E
we FIR SEWER) fa WRE FOR ALL MATER AD EEVER LIVES. DISCLAMER NOTE =| <«
Sainte Tach wy wi
UTLITY Locations sHown a
HEREDN ARE APPROSIMATE Call a
before you
GOLF COURSE
HOLE NO. 3 5
j
soy) Tae Aan 1a amy een a
mittee HEA aes, tae 1-05 795-380 SHEET
MEE aera tear
we on,
BP Scoros were yer paris or Wane ase pee ingen He UPI5
ADJACENT TO A SIGOWALK, FASE OF POLE To AIMACENT TO 8 SIDEWALK, FACE OF HIDRANT SHEETS:
SA alae ae PY Ad See 36_oF 105
SCI PROJECT;
sn AR PRELIMINARY ISSUE FOR REVIEW Orel

NOT FOR CONSTRUCTION 4-12-06 C...._-+d
A. /

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